Case 2:21-cr-00062 Document 367-1 Filed 09/20/23. Page 1 of 1 PagelD #: 3351

| Dear Honorable Dad ge. ) : = -
Then you for reading ths letter, J an only bpe it will make a di'teroce on.
hei my brother is peoceived, _ _

He inspired me- L be an aspiring Care. PVE 4, Our- family ) 5e*tns high = ——

| Crpec tations. My brother get an example. by Supporting the family by making =

Sace therr Needs were mat emotionally , physically y and finacially . Hes mother
Land ourr_$3$ ala hein Specia al needs and vd ensured they were met by merntaining

ther f home q Along with prov. iding Qo pne4qe.$ at trons tar ta 10) + Along with tag ined. va/

(OS5;.5 lance 4

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provided, He Fave hun q place glans with qa. jos at his Oe Air Cond tion busnecs :

4 [My own parents heeded Copains (0. another state, he assisted Any bea. possi ble.

———} As busy as he was he made. dime 2ven thoush he was Paisins hss own fam: Me

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1 Be. or Worse my brother rade a dbitference , inade_us smi ley faush, Ce. throw)
his geod pare and hunee 4 Se Charsma tit with people. Tf only my fam! Y and
| Could Share. Men orr€s at him ae woods dant do bt justice. Ils impa ch was

| Jo unique + EB 2

I dink he. book potice_and i+ inspired him 1 a0 toto law erbrcemnt rt “sy

Lhe Gould apply it to the Communit: » Trough his AChions he Progressed to chert.

Respectfully pn the premise ol he wanted ty entch Wives ned hendan te lives

lot athers.. My for: and a be lieve he 105 ‘pnocent2 He will Lonever b. ny
role nede| and loved by Our fam ly,

Please ales this letter inTo our Consideration and. More_;'p apoelant ly ta}

| we all love. hem, Hope you can ony what You Can wrth if) dezel, MEGAS +

lyn A820. ene tenet)

| Sincerely Amber Clay in thief eng Ue e223 — 9364 _
